                     UNITED STATES BANKRUPTCY COURT

                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO




                        MICHAEL DEGTYAREV, Plaintiff

                                        v.

         ELIZABETH IGUDESMAN and LEONID IGUDESMAN, Defendants




                             Plaintiff’s Exhibits: 1-7




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RE: note - Yahoo! Mail                                                                                                             1/19/10 2:52 PM




      RE: note                                                                                         Tuesday, July 21, 2009 4:37 PM
       From: "Lisa Igudesman" <LIgudesman@bridgelinecg.com>
          To: "Michael Degtyarev" <mdegtyarev@yahoo.com>




    WAMU file is being submitted. We should know that it is uploaded in their system by Friday this week.
    I actually do have a note for 110K (after 20K paid). That is why I asked when other 10K were paid.
    Anyway, try to find that file. Eventually we’ll figure it out. Maybe I am wrong…

    On the other subject, I need 150-200K badly. I have someone willing to give me 200K loan for a year,
    but he will have money in September only. So, if you’re ok with helping me with a note for 2 months, I
    would willingly pay good interest to you (like 6-7%) for these few months… Let me know please…

    Lisa Igudesman
    Bridgeline Capital Group, Inc.
    330 Townsend, Suite 114
    San Francisco, CA 94107
    Tel: (415) 512-7535
    Fax: (415) 871-2197
    Mobile: (415) 640-0582
    www.bridgelinecg.com




                                                                                                             EXHIBIT W
    This email message (and any attachments) is for the sole use of the intended recipient(s) and may contain confidential and/or
    privileged information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not an intended
    recipient, please contact the sender by reply email and destroy all copies of the original message. If you are an intended recipient,
    please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System

                                                                                                             EXHIBIT X
    Administrator. Any Interest Rate Information published in this message is subject to change without notice and does not
    constitute a commitment to broker any loan at any specific rate. Thank you.




                                                                                                             EXHIBIT Y
    From: Michael Degtyarev [mailto:mdegtyarev@yahoo.com]
    Sent: Tuesday, July 21, 2009 4:34 PM
    To: Lisa Igudesman
    Subject: Re: note

    Liz,
    I know I have a folder for the note, but I can not find it for now. I may be wrong, but I always
    remembered it became 100k after Oct last year, and paid you interest accordingly! If you have this note,
                                                                                                             EXHIBIT Z
    please make a copy and drop it in my mailbox on your way home. I will find that folder eventually.
    Hello from my Mom!

                                                                                                             EXHIBIT 1
http://us.mc823.mail.yahoo.com/mc/showMessage?sMid=133&filterBy=…&.jsrand=8549664&acrumb=PZ8PRp09FJL&pView=1&view=print&enc=auto        Page 1 of 3

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RE: note - Yahoo! Mail                                                                                                             1/19/10 2:52 PM



    How is our WaMu file?

    thanks

    Michael (Misha) Degtyarev
    586 Clipper St .
    San Francisco , CA 94114
    (415) 342-7115 (mobile)
    (650) 225-3718 (work)
    e-mail: mdegtyarev@yahoo.com

    --- On Thu, 7/16/09, Lisa Igudesman <LIgudesman@bridgelinecg.com> wrote:

    From: Lisa Igudesman <LIgudesman@bridgelinecg.com>
    Subject: note
    To: "Michael Degtyarev" <mdegtyarev@yahoo.com>
    Date: Thursday, July 16, 2009, 11:45 AM

    Mishka, also, sorry, I didn’t really check. And please excuse, I admit I can be wrong, because I didn’t
    put all my paperwork together for tax filings as of yet, and everything is kind of in different folders…
    But my question is: the note remaining was 100K, not 110?
    I came across the note as of 10/01/2008 when you gave me $20,000, and the note becomes $110,000.
    Can you please remind me of another 10K?
    Thanks!
    Also, I will call you tomorrow, as I should have some $ for you as well.

    Lisa Igudesman
    Bridgeline Capital Group, Inc.
    330 Townsend, Suite 114
    San Francisco, CA 94107
    Tel: (415) 512-7535
    Fax: (415) 871-2197
    Mobile: (415) 640-0582
    www.bridgelinecg.com




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    recipient, please contact the sender by reply email and destroy all copies of the original message. If you are an intended recipient,
    please be advised that the content of this message is subject to access, review and disclosure by the sender's Email System
    Administrator. Any Interest Rate Information published in this message is subject to change without notice and does not
    constitute a commitment to broker any loan at any specific rate. Thank you.




http://us.mc823.mail.yahoo.com/mc/showMessage?sMid=133&filterBy=…&.jsrand=8549664&acrumb=PZ8PRp09FJL&pView=1&view=print&enc=auto        Page 2 of 3

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                                                                 EXHIBIT X

                                                                 EXHIBIT Y

                                                                 EXHIBIT Z

                                                                 EXHIBIT 1

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Personal note due! - Yahoo! Mail                                                                                             10/26/09 7:35 PM




      Personal note due!                                                                       Tuesday, September 29, 2009 1:08 PM
       From: "Michael Degtyarev" <mdegtyarev@yahoo.com>
          To: "Elizabeth Igudesman" <eigudesman@yahoo.com>
          Cc: "Elizabeth Igudesman" <ligudesman@bridgelinecg.com>, "Michael Degtyarev"
              <mdegtyarev@yahoo.com>



    Liza, hi
                                                                                                       EXHIBIT W
    Just to remind you that your personal note to me is due on Oct1st, 2009.
    thanks!



                                                                                                       EXHIBIT X
    Michael (Misha) Degtyarev
    586 Clipper St.
    San Francisco, CA 94114
    (415) 342-7115 (mobile)
    (650) 225-3718 (work)
    e-mail: mdegtyarev@yahoo.com


                                                                                                       EXHIBIT Y

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http://us.mc823.mail.yahoo.com/mc/showMessage?sMid=45&filterBy=…1_22094_AOBVv9EAAKCGSsJpIw1GsQW39ao&pView=1&view=print&enc=auto    Page 1 of 1

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